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 2
                              UNITED STATES DISTRICT COURT
 3
                           NORTHERN DISTRICT OF CALIFORNIA
 4
                                        OAKLAND DIVISION
 5

 6
     RUMBLE, INC.,                                Case No. 4:21-cv-00229-HSG
 7
                           Plaintiff,             CASE MANAGEMENT ORDER
 8
                      v.
 9                                                Judge:      Hon. Haywood S. Gilliam, Jr.
     GOOGLE LLC,
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                           Defendant.
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 1         Pursuant to the Parties’ Joint Stipulation Regarding Case Deadlines (ECF No. 151), the Court

 2   hereby ORDERS the following:

 3      1. No later than January 10, 2025, the Parties shall file, under seal, a joint-submission that sets

 4         forth all sealing requests relating to the reply briefing and exhibits due to be filed on or before

 5         December 21, 2024, and any opposition to any such sealing requests. This joint submission

 6         shall include the information required by Civil Local Rule 79-5(c).

 7      2. To the extent any non-party seeks to seal its information contained in any reply pleading filed

 8         on or before December 21, 2024, it shall file a motion to seal containing the information

 9         required by Civil Local Rule 79-5(c) no later than January 10, 2025.

10      3. No later than January 17, 2025, the Parties shall file redacted versions of the reply pleadings

11         due to be initially filed under seal on or before December 21, 2024, that redact only the

12         information sought to be sealed by a Party or non-party under the procedures set forth above

13         and in the Court’s September 12, 2024 Order (ECF No. 124).

14      4. Other than set forth above, the Court’s September 12, 2024 Order (ECF No. 124) remains in

15         effect.

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17   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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19   Date: 11/13/2024                                      ___________________________________
                                                           Hon. Haywood S. Gilliam, Jr.
20                                                         United States District Judge
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                                       CASE MANAGEMENT ORDER
                                        Case No. 4:21-cv-00229-HSG
